       Case 1:22-cv-03766-CKK            Document 31        Filed 07/11/25      Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  ERIN SIEGAL MCINTYRE,

                   Plaintiff,

            v.
                                                           Civil Action No. 22-3766 (CKK)
  U.S. CUSTOMS AND BORDER
  PROTECTION,

                   Defendant.


                                    JOINT STATUS REPORT

       Pursuant to the Court’s March 23, 2023 Minute Order, Plaintiff and Defendant, U.S.

Customs and Border Protection (“Defendant” or “CBP”), by and through undersigned counsel,

hereby provide the following joint status report.

       1.        Plaintiff filed this action under the Freedom of Information Act (“FOIA”) on

December 21, 2022. Plaintiff generally seeks records for fourteen separate FOIA requests

regarding alleged assault and sexual harassment incidents.

       2.        Based on the initial search terms identified by Plaintiff, CBP ran a search and made

three productions on May 28, 2024; June 24, 2024; and August 8, 2024.

       3.        CBP has completed its searches and, on November 5, 2024, made the fourth interim

production to Plaintiff.

       4.        CBP made its fifth and final production on December 5, 2024.

       5.        Plaintiff’s original counsel withdrew on March 11, 2025. ECF No. 26. Plaintiff’s

current counsel, who filed their appearances in March 2025 (ECF No. 24) and late May 2025 (ECF

No. 29), are still in the process of reviewing the case and the productions to date to determine the
       Case 1:22-cv-03766-CKK           Document 31        Filed 07/11/25    Page 2 of 2




adequacy of CBP’s searches and the merits of any exemptions cited for the withholding of

responsive documents. The parties will confer regarding these issues in an effort to resolve open

issues without necessitating motion practice to the extent possible.

       6.      The parties respectfully propose filing another joint status report on or before

October 5, 2025.

                                            *    *   *

 Dated: July 11, 2025                           Respectfully submitted,
        Washington, DC
                                                JEANINE FERRIS PIRRO
                                                 United States Attorney


                                                /s/ Kimberly A. Stratton
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